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              IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION


IN RE: SHARON BOST                       )
v. WEXFORD HEALTH                        )
SOURCES, INC.                            )   MISC. NO. 2:19-mc-3887-ECM
                                         )
                                         )

                                    ORDER

      Now pending before the Court is the Movant’s Motion to Withdraw its Motion

to Quash Third-Party Subpoena (doc. 2) filed on August 15, 2019.          Upon

consideration of the motion, and for good cause shown, it is

      ORDERED that the motion to withdraw the motion to quash (doc. 2) is

GRANTED and the motion to quash (doc. 1) is WITHDRAWN.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 20th day of August, 2019.


                                      /s/ Emily C. Marks
                                EMILY C. MARKS
                                CHIEF UNITED STATES DISTRICT JUDGE
